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 7

 8                                 UNITED STATES DISTRICT COURT
 9                              NORTHERN DISTRICT OF CALIFORNIA
10                                     SAN FRANCISCO DIVISION
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12
     IN RE: VOLKSWAGEN ‘CLEAN DIESEL’                  MDL No. 2672 CRB (JSC)
13   MARKETING, SALES PRACTICES, AND
     PRODUCTS LIABILITY LITIGATION                     The Honorable Charles R. Breyer
14
     This Document Relates to:                         STIPULATION AND [PROPOSED]
15                                                     ORDER
     Fajardo et al. v. Dr. Ing. h.c. F. Porsche AG
16   et al., No. 3:20-cv-7473; Del Barrio Jr. et al.
     v. Dr. Ing. h.c. f. Porsche AG, et al., No.
17   3:20-7341 (N.D. Cal.); Schubert v. Porsche
     Cars North America, Inc., No. 20-cv-07589
18   (N.D. Cal.)
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                                                                    STIPULATION AND [PROPOSED] ORDER
     2054685.6
                                                                                 MDL NO. 2672 CRB (JSC)
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 1               WHEREAS, on October 23, 2020, Plaintiffs Mallen Fajardo, Christopher Allen, Frank
 2   Cohen, Andrew Kavan, Mark Kovaletz, Cecil Robinson, Sander Shady, William Venturino, and
 3   John Vorisek (“Plaintiffs”), on behalf of themselves and a putative class of all other similarly
 4   situated, filed a class action complaint against Dr. Ing. h.c. F. Porsche AG (“Porsche AG”), Porsche
 5   Cars North America, Inc. (“Porsche NA”) (together, “Porsche”), and Volkswagen AG
 6   (collectively, “Defendants”) for allegedly misrepresenting the true emissions levels and fuel
 7   economy of certain Porsche vehicles;
 8               WHEREAS, Plaintiffs served all Defendants on October 26, 2020;
 9               WHEREAS, on October 27, 2020, the case was related to In Re: Volkswagen ‘Clean Diesel’
10   Marketing, Sales Practices, and Products Liability Litigation, No. 15-md-2673-CRB, and assigned
11   to this Court (Dkt. 7737);
12               WHEREAS, another case involving similar allegations, Del Barrio Jr. et al. v. Dr. Ing. h.c.
13   f. Porsche AG, et al., No. 3:20-7341 (N.D. Cal.), was related to the MDL and assigned to this Court
14   on October 28, 2020 (Dkt. 7741);
15               WHEREAS, another case involving similar allegations, Schubert v. Porsche Cars North
16   America, No. 20-cv-07589 (N.D. Cal.), was related to the MDL and assigned to this Court on
17   October 29, 2020;
18               WHEREAS, the parties are aware of another case filed in this District: Chadha et al. v.
19   Porsche Cars North America, Inc., No. 20-cv-06923 (N.D. Cal) (collectively with the Fajardo,
20   Del Barrio and Schubert cases, the “Porsche Gasoline Litigation”);
21               WHEREAS, the Chadha plaintiffs have not served any defendant in that action or moved to
22   relate to their case to the MDL, but Defendants expect to move to relate the Chadha case as soon as
23   they are served if the case is not related to the MDL before then;
24               WHEREAS, the parties agree and stipulate that Plaintiffs—by and through Lead Counsel
25   pursuant to Pretrial Order No. 7—shall have until January 15, 2021, to file a consolidated
26   complaint in the Porsche Gasoline Litigation.
27               IT IS THEREFORE STIPULATED AND AGREED, by the parties, through their
28   respective counsel of record, subject to the Court’s approval, that:

                                                                           STIPULATION AND [PROPOSED] ORDER
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 1               (1) Plaintiffs—by and through Lead Counsel pursuant to Pretrial Order No. 7—shall have
 2   until January 15, 2021, to file a consolidated complaint in the Porsche Gasoline Litigation; and
 3               (2) All filings in this MDL relating to the Porsche Gasoline Litigation, including filings in
 4   other cases raising similar allegations that are subsequently related to this MDL, shall be clearly
 5   marked in the caption as relating to “Porsche Gasoline Litigation.”
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 7   Dated: November 6, 2020                  Respectfully submitted,
 8                                            LIEFF CABRASER HEIMANN & BERNSTEIN, LLP
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                                              By: /s/ Elizabeth J. Cabraser
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22                                            Plaintiffs’ Lead Counsel
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 1   Dated: November 6, 2020
                                    /s/ Robert J. Giuffra, Jr.                                .
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11
                                    Attorneys for Defendants Volkswagen AG
12                                  Dr. Ing. h.c. F. Porsche AG, and Porsche Cars North
                                    America, Inc.
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     PURSUANT TO STIPULATION, IT IS SO ORDERED.
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     Dated: November 10        , 2020         _____________________________
16                                            CHARLES R. BREYER
17                                            United States District Judge

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                                              -3-                  STIPULATION AND [PROPOSED] ORDER
                                                                                MDL NO. 2672 CRB (JSC)
